Case 1:24-cv-12400-FDS   Document 6-4   Filed 09/26/24   Page 1 of 3




            EXHIBIT D
          Case 1:24-cv-12400-FDS                                    Document 6-4                        Filed 09/26/24                   Page 2 of 3




                                                                                                                                                        Prime Hydration LLC
                                                                                                                                                7201 Intermodal Drive STE A
                                                                                                                                                         Louisville, KY 40258
                                                                                                                                                               618-593-9867

                                                                                     Purchase Order

                                Purchase Order:          PH-AG R-24001-7068                                               PO Date                  8/21/2023
                                    Work Order:             PH-AGR-24001                                             Need By Date         Multiple - Details Below


                                     Vendor Info                                                                                           Ship To
                                           Name                 Agrovana                                            Business Name               Multiple Locations
                                         Contact          Tim Panagopoulos                                                Contact                 Layla Pezzullo
                                        Number           ttrn.aaviielowinlimeran                                          Address           InyhiAmmotrandi=m
                                                             617.719.0656                                                                Hallie Streib - 502.671.9606
                                                                                                                                         h01144tielbraronirnbrantis.com




              Product Description                     Quantity             UOM          Shipping Date         Other Description     Unit Cost           Line Total
Coconut Water Powder - Fluorocess Aayush              350,000               kg          TBD -January           PH-CCNPWD-04          $          7.700   $     2,695,000.00
Coconut Water Powder - Fluorocess Aayush              350,000               kg         TBD - February          PH-CCNPWD-04          $2,695,000.00
Coconut Water Powder - Fluorocess Aayush              350,000               kg           TBD - March           PH-CCNPWD-04          $          77770   :     2,695,000.00
Coconut Water Powder - Fluorocess Aayush              350,000               kg           TBD -April           PH-CCNPWD-04          $2,695,000.00
Coconut Water Powder - Fluorocess Aayush              350,000               kg           TBD - May             PH-CCNPWD-04         $           7 700 :       2,695,000.00
Coconut Water Powder - Fluorocess Aayush              350,000               kg           TBD -June            PH-CCNPWD-04          $           7.700 $       2,695,000.00




                                                         Other PO Notes                                                                    Subtotal $        16,170,000.00
Price inclusive of transportation to OL India - OL Logistics to arrange air or ocean freight to US co packer(s)                                   Tax                      0
                                                                                                                                                 Total $ 16,170.000:00

1H '24 Fluorocess Aayush CWP Volume - 25 FCLs per month (January, February, March, April, May, June)




"Placeholder POs to be confirmed 90 days prior to each need by date"


                            Approved By Name                                         Wyatt Bryant
                              Approved by Title                            Director. External Manufacturing
                        Approved By Signature                                      Wyatt Bryant
'Please send all invoices to Accounting@DrinkPrime.com and Ryan@DrinkPrime.com.
          Case 1:24-cv-12400-FDS                                       Document 6-4                         Filed 09/26/24                     Page 3 of 3




                                                                                                                                                             Prime Hydration LLC
                                                                                                                                                   7201 Intermodal Drive STE A
                                                                                                                                                              Louisville, KY 40258
                                                                                                                                                                    618-593-9867

                                                                                         Purchase Order

                                   Purchase Order:          PH-AGR-24001-7067                                                 PO Date                   8/21/2023
                                       Work Order:             PH-AGA-24001                                              Need By Date           Multiple - Details Below


                                      Vendor Info                                                                                                Ship To
                                              Name                 Agrovana                                             Business Name                        TBD
                                            Contact          Tim Panagopoulos                                                  Contact       Brooke Boothby - 630.777.7060
                                           Number           ilm.vinvievJmus.mm                                                Address
                                                               617.719.0656                                                                   Hanle Streib - 502.671.9606
                                                                                                                                              l_19_1
                                                                                                                                                  sc AjezogOraftrivcom
                                                                                                                                                     Il




                Product Description                     Quantity              UOM          Shipping Date          Other Description             7300 s Total
                                                                                                                                         Unit CostLine
Coconut Water Powder - Fluorocess Nutravedlc             350,000               kg          TBD -January            PH-CCNPWD-03          $          1770 : 2,695,000.00
Coconut Water Powder - Fluorocess Nutravedic             350,000              kg           M D - February          PH-CCNPWC)-03         $                         2,695,000.000
Coconut Water Powder - Fluorocess Nutravedic             350,000              kg            TBD - March            PH-CCNPWD-03          $         7               2,695,000.000
Coconut Water Powder - Fluorocess Nutravedic             350,000              kg             TBD - April           PH-CCNPWD-03          $         7.700 $ 2,695,000.000
Coconut Water Powder - Fluorocess Nutravedic             350,000              kg             TOO - May            PH-CCNPWD-03           $         7.700 $ 2,695,000.000
Coconut Water Powder - Fluorocess Nutravedic             350,000              kg             TIM -June            PH-CCNPWD-03           $        7.700 $ 2,695,000.000




                                                           Other PO Notes                                                                       Subtotal $         16,170,000.00
Price inclusive of transportation to OL India - OL Logistics to arrange air or ocean freight to US co packer(s)                                        Tax                      0
                                                                                                                                                   Total $         16,170,000.00
111 '24 Fluorocess Nutravedic CWP Volume- 25 FCLs per month




**Placeholder POs to be confirmed 90 days prior to each need by date**


                               Approved By Name                                        Wyatt Bryant
                                Approved by Title                             Director, External Manufacturing
                           Approved By Signature

*Please send all invoices to Accounting@DrinkPrime.com and Ryan@DrinkPrime.com.
